B4 (Official Form 4) (12/07)
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
            Patricia Louise Smithson
 In re      Kenneth Lynden Smithson                                                                             Case No.       13-46375
                                                                                  Debtor(s)                     Chapter        11


                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                      Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
            accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
            persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
            the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
            If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
            address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
            name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                    (1)                                                (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                       subject to setoff
 Capital One                                  Capital One                                     Credit Serv                                     4,916.00
 701 Liberty Way                              701 Liberty Way                                 Disputed fees -
 Chester, VA 23836                            Chester, VA 23836                               late, overlimit,
                                                                                              interest etc.
 Capital One                                  Capital One                                     Credit Serv                                     705.00
 701 Liberty Way                              701 Liberty Way                                 Disputed fees -
 Chester, VA 23836                            Chester, VA 23836                               late, overlimit,
                                                                                              interest etc.
 Capital One                                  Capital One                                     Credit Serv                                     389.00
 701 Liberty Way                              701 Liberty Way                                 Disputed fees -
 Chester, VA 23836                            Chester, VA 23836                               late, overlimit,
                                                                                              interest etc.
 Capital One                                  Capital One                                     Credit Serv                                     Unknown
 701 Liberty Way                              701 Liberty Way                                 Disputed fees -
 Chester, VA 23836                            Chester, VA 23836                               late, overlimit,
                                                                                              interest etc.
 Chase Bank                                   Chase Bank                                      902 66th Ave E.                                 43,017.00
 PO Box 94014                                 PO Box 94014                                    Fife (Tacoma), WA                               (225,000.00
 Palatine, IL 60094-4014                      Palatine, IL 60094-4014                         98424, Lot Acres:                               secured)
                                                                                              0.2899, Building                                (377,060.50
                                                                                              SQF: 2,750,                                     senior lien)
                                                                                              Bedrooms: 3,
                                                                                              Baths: 4, Effective
                                                                                              Year Built: 1981,
                                                                                              Appraisal Valuatio
 IRS Internal Revenue                         IRS Internal Revenue Service                    2009 Taxes owed                                 10,000.00
 Service                                      POB 7346                                        per Audit - appeal
 POB 7346                                     Philadelphia, PA 19101-7346                     pending
 Philadelphia, PA 19101-7346
 IRS Internal Revenue                         IRS Internal Revenue Service                    2011 Taxes owed                                 9,589.93
 Service                                      POB 7346                                        per Audit - appeal
 POB 7346                                     Philadelphia, PA 19101-7346                     pending
 Philadelphia, PA 19101-7346




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              Case 13-46375-BDL                         Doc 16          Filed 11/07/13        Ent. 11/07/13 22:01:12                 Pg. 1 of 39
B4 (Official Form 4) (12/07) - Cont.
           Patricia Louise Smithson
 In re     Kenneth Lynden Smithson                                                                    Case No.       13-46375
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete           Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of       debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor    government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted      etc.)                    disputed, or           security]
                                                                                                                     subject to setoff
 IRS Internal Revenue                         IRS Internal Revenue Service                  2010 Taxes owed                                 9,394.00
 Service                                      POB 7346                                      per Audit - appeal
 POB 7346                                     Philadelphia, PA 19101-7346                   pending
 Philadelphia, PA 19101-7346
 Macy's Bankruptcy                            Macy's Bankruptcy Processing                  Credit Serv                                     1,974.00
 Processing                                   PO Box 8053                                   Disputed fees -
 PO Box 8053                                  Mason, OH 45040                               late, overlimit,
 Mason, OH 45040                                                                            interest etc.
 Ocwen Loan Servicing                         Ocwen Loan Servicing                          624 66th Ave E.,                                472,458.79
 12650 Ingenuity Dr.                          12650 Ingenuity Dr.                           Fife (Tacoma), WA
 Orlando, FL 32836                            Orlando, FL 32836                             98424, Lot Acres:                               (250,000.00
                                                                                            5, Building SQF:                                secured)
                                                                                            1,708, Bedrooms:
                                                                                            2, Baths: 2,
                                                                                            Effective Year
                                                                                            Built: 1978,
                                                                                            Appraisal
                                                                                            Valuation 10
 Ocwen Loan Servicing, LLC                    Ocwen Loan Servicing, LLC                     74 17th Ave.                                    213,674.84
 3700 J. St. SW Suite 222                     3700 J. St. SW Suite 222                      Milton, WA 98354,
 Cedar Rapids, IA 52404                       Cedar Rapids, IA 52404                        Lot Acres: 0.2215,                              (175,000.00
                                                                                            Building SQF:                                   secured)
                                                                                            1,520, Bedrooms:
                                                                                            3, Baths: 3, Year
                                                                                            Built: 1983
 OneWest Bank Bank                            OneWest Bank Bank                             902 66th Ave E.                                 377,060.50
 PO Box 829009                                PO Box 829009                                 Fife (Tacoma), WA
 Dallas, TX 75382-9009                        Dallas, TX 75382-9009                         98424, Lot Acres:                               (225,000.00
                                                                                            0.2899, Building                                secured)
                                                                                            SQF: 2,750,
                                                                                            Bedrooms: 3,
                                                                                            Baths: 4, Effective
                                                                                            Year Built: 1981,
                                                                                            Appraisal Valuatio
 Orchard Bank                                 Orchard Bank                                  Credit Serv                                     2,931.00
 HSBC Cards Services                          HSBC Cards Services                           Disputed fees -
 POB 60102                                    POB 60102                                     late, overlimit,
 City of Industry, CA 91716                   City of Industry, CA 91716                    interest etc.




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              Case 13-46375-BDL                         Doc 16        Filed 11/07/13        Ent. 11/07/13 22:01:12                 Pg. 2 of 39
B4 (Official Form 4) (12/07) - Cont.
           Patricia Louise Smithson
 In re     Kenneth Lynden Smithson                                                                      Case No.       13-46375
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                               (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                       subject to setoff




                                          DECLARATION UNDER PENALTY OF PERJURY
                                        ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     We, Patricia Louise Smithson and Kenneth Lynden Smithson, the debtors in this case, declare under
            penalty of perjury that we have read the foregoing list and that it is true and correct to the best of our information and
            belief.


 Date November 7, 2013                                                   Signature   /s/ Patricia Louise Smithson
                                                                                     Patricia Louise Smithson
                                                                                     Debtor


 Date November 7, 2013                                                   Signature   /s/ Kenneth Lynden Smithson
                                                                                     Kenneth Lynden Smithson
                                                                                     Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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              Case 13-46375-BDL                         Doc 16        Filed 11/07/13          Ent. 11/07/13 22:01:12                 Pg. 3 of 39
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                               United States Bankruptcy Court
                                                                       Western District of Washington
  In re          Patricia Louise Smithson,                                                                     Case No.      13-46375
                 Kenneth Lynden Smithson
                                                                                                         ,
                                                                                        Debtors                Chapter                    11




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS                LIABILITIES              OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes             1                  750,000.00


B - Personal Property                                          Yes             4                  166,733.80


C - Property Claimed as Exempt                                 Yes             2


D - Creditors Holding Secured Claims                           Yes             2                                     1,156,211.13


E - Creditors Holding Unsecured                                Yes             2                                          28,983.93
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             3                                          10,915.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             1                                                                   13,042.96
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                   13,256.82
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     19


                                                                         Total Assets             916,733.80


                                                                                          Total Liabilities          1,196,110.06




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                  Case 13-46375-BDL                          Doc 16         Filed 11/07/13        Ent. 11/07/13 22:01:12        Pg. 4 of 39
Form 6 - Statistical Summary (12/07)


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                                                               United States Bankruptcy Court
                                                                       Western District of Washington
  In re           Patricia Louise Smithson,                                                                        Case No.   13-46375
                  Kenneth Lynden Smithson
                                                                                                           ,
                                                                                        Debtors                    Chapter                  11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                    0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                           28,983.93

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                0.00

              Student Loan Obligations (from Schedule F)                                                        0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                0.00

                                                                               TOTAL                       28,983.93


              State the following:

              Average Income (from Schedule I, Line 16)                                                    13,042.96

              Average Expenses (from Schedule J, Line 18)                                                  13,256.82

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                     10,858.52


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                  456,211.13

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                           28,983.93

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                             10,915.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        467,126.13




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                   Case 13-46375-BDL                         Doc 16         Filed 11/07/13         Ent. 11/07/13 22:01:12       Pg. 5 of 39
B6A (Official Form 6A) (12/07)


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  In re         Patricia Louise Smithson,                                                                        Case No.     13-46375
                Kenneth Lynden Smithson
                                                                                                     ,
                                                                                   Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                     Husband,    Current Value of
                                                                         Nature of Debtor's           Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                     Interest in Property         Joint, or  Property, without            Secured Claim
                                                                                                    Community Deducting  any Secured
                                                                                                                Claim or Exemption

902 66th Ave E. Fife (Tacoma), WA 98424, Lot                                                             C                  225,000.00               420,077.50
Acres: 0.2899, Building SQF: 2,750, Bedrooms: 3,
Baths: 4, Effective Year Built: 1981, Appraisal
Valuation 10/9/13: $225,000.00

74 17th Ave. Milton, WA 98354, Lot Acres: 0.2215,                                                        C                  175,000.00               213,674.84
Building SQF: 1,520, Bedrooms: 3, Baths: 3, Year
Built: 1983

624 66th Ave E., Fife (Tacoma), WA 98424, Lot                                                            C                  250,000.00               472,458.79
Acres: 5, Building SQF: 1,708, Bedrooms: 2, Baths:
2, Effective Year Built: 1978, Appraisal Valuation
10/9/13: $250,000.00

Vacant Lots: APN 581003000/5810020000. Tax                                                               C                  100,000.00                50,000.00
Valuation: $100,000




                                                                                                     Sub-Total >            750,000.00       (Total of this page)

                                                                                                             Total >        750,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
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                  Case 13-46375-BDL                          Doc 16    Filed 11/07/13           Ent. 11/07/13 22:01:12           Pg. 6 of 39
B6B (Official Form 6B) (12/07)


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  In re         Patricia Louise Smithson,                                                                         Case No.       13-46375
                Kenneth Lynden Smithson
                                                                                                      ,
                                                                                     Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

1.    Cash on hand                                            Cash on hand                                                   C                           200.00

2.    Checking, savings or other financial                    Wells Fargo Checking xxxx1827                                  C                           253.08
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Wells Fargo Checking xxxx3719                                  C                           154.54
      thrift, building and loan, and
      homestead associations, or credit                       Wells Fargo Checking xxxx5281                                  C                              9.80
      unions, brokerage houses, or
      cooperatives.                                           Wells Fargo Savings xxxx3583                                   C                        6,262.18

                                                              WSECU Savings xxxx70-S01                                       C                           724.65

                                                              WSECU Checking xxxx70-S09                                      C                        1,319.58

                                                              Sound Credit Union xxxx86-S10                                  C                            59.02

                                                              WSECU Savings xxxx70-S02                                       C                        2,700.00

                                                              Funds in Iwama Law Firm Attorney Trust Account                 C                        4,063.28

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Assorted household goods                                       C                      15,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Wearing apparel for two adults                                 C                           600.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.


                                                                                                                             Sub-Total >          31,346.13
                                                                                                                 (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                  Case 13-46375-BDL                           Doc 16    Filed 11/07/13         Ent. 11/07/13 22:01:12               Pg. 7 of 39
B6B (Official Form 6B) (12/07) - Cont.




  In re         Patricia Louise Smithson,                                                                          Case No.       13-46375
                Kenneth Lynden Smithson
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        Dawson Land Company LLC: Arizona State LLC.                     C                      52,947.35
    other pension or profit sharing                           Principal place of business: 902,66th Ave E.
    plans. Give particulars.                                  Tacoma WA. Manager: Pat Smithson, Member: Pat
                                                              L. Smithson 401K Profit Sharing Plan 100%
                                                              Assets: Oroville Lot 4 Tax ID 5810040000 - $49,500
                                                              tax assessed value. Fife Commercial Bank Account
                                                              xxxx4311 $3,447.35

13. Stock and interests in incorporated                       Aegis International LLC - Debtor has 10% interest in            C                      12,000.00
    and unincorporated businesses.                            LLC. Joint Debtor has 20% interest in LLC. Son -
    Itemize.                                                  35%, Son - 35% 1977 Cessna Skyhawk.

                                                              Vista Estates LLC - no income. Fife Commercial                  C                        2,798.32
                                                              Bank Account xxxx3305 $2,798.32

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                              Sub-Total >          67,745.67
                                                                                                                  (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                  Case 13-46375-BDL                           Doc 16     Filed 11/07/13         Ent. 11/07/13 22:01:12               Pg. 8 of 39
B6B (Official Form 6B) (12/07) - Cont.




  In re         Patricia Louise Smithson,                                                                          Case No.       13-46375
                Kenneth Lynden Smithson
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2006 Ford Mustang, Mileage: 120,000, Condition:                 C                      10,993.00
    other vehicles and accessories.                           Good, KBB Trade in Value: $10,993.00

                                                              1971 Mercury Cougar, Mileage: 250,000, Debtor                   C                        1,000.00
                                                              Stated value of $1,000.00

                                                              2001 Ford Mustang, Mileage: 175,000, Condition:                 C                        2,559.00
                                                              Good, KBB Trade in Value: $2,559.00

                                                              1996 Ford Mustang, Mileage: 225,000, Condition:                 C                        2,290.00
                                                              Good, KBB Trade in Value: $2,290.00

                                                              1970 Chevrolet Corvette, Mileage: 300,000, Debtor               C                           900.00
                                                              Stated Value of $900.00

26. Boats, motors, and accessories.                       X


                                                                                                                              Sub-Total >          17,742.00
                                                                                                                  (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                  Case 13-46375-BDL                           Doc 16    Filed 11/07/13          Ent. 11/07/13 22:01:12               Pg. 9 of 39
B6B (Official Form 6B) (12/07) - Cont.




  In re         Patricia Louise Smithson,                                                                          Case No.        13-46375
                Kenneth Lynden Smithson
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                        Office Equipment                                                 C                          350.00
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                                  2 Cats                                                           C                           50.00

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Non-Refundable Damage Deposit for Renter in 624                  C                       1,000.00
    not already listed. Itemize.                              66th Ave Rental

                                                              Pending Lawsuit against Regional Trustee Services                C                     Unknown
                                                              Corp.

                                                              Funds Garnished from Wells Fargo Bank account                    C                     19,000.00
                                                              by IRS

                                                              Fraudulent transfer to Right to Cancel                           C                       3,000.00

                                                              Advance Fee Deposit to Attorney Jonathan Smith                   C                       2,500.00

                                                              Fraudulent transfer to QGroup                                    C                       3,500.00

                                                              Fraudulent Transfer to Kaslow & Kramer Law                       C                       3,500.00
                                                              Offices

                                                              Fraudulent Transfer to Spire Law Group                           C                     17,000.00




                                                                                                                              Sub-Total >          49,900.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >       166,733.80
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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                Case 13-46375-BDL                          Doc 16       Filed 11/07/13          Ent. 11/07/13 22:01:12               Pg. 10 of 39
 B6C (Official Form 6C) (4/13)


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   In re         Patricia Louise Smithson,                                                                           Case No.           13-46375
                 Kenneth Lynden Smithson
                                                                                                         ,
                                                                                      Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                       Each Exemption                             Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Real Property
624 66th Ave E., Fife (Tacoma), WA 98424, Lot                           11 U.S.C. § 522(d)(1)                                            0.00                   250,000.00
Acres: 5, Building SQF: 1,708, Bedrooms: 2,
Baths: 2, Effective Year Built: 1978, Appraisal
Valuation 10/9/13: $250,000.00

Cash on Hand
Cash on hand                                                            11 U.S.C. § 522(d)(5)                                        200.00                           200.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Wells Fargo Checking xxxx1827                     11 U.S.C. § 522(d)(5)                                                              253.08                           253.08

Wells Fargo Checking xxxx3719                                           11 U.S.C. § 522(d)(5)                                        154.54                           154.54

Wells Fargo Checking xxxx5281                                           11 U.S.C. § 522(d)(5)                                            9.80                             9.80

Wells Fargo Savings xxxx3583                                            11 U.S.C. § 522(d)(5)                                      6,262.18                         6,262.18

WSECU Savings xxxx70-S01                                                11 U.S.C. § 522(d)(5)                                        724.65                           724.65

WSECU Checking xxxx70-S09                                               11 U.S.C. § 522(d)(5)                                      1,319.58                         1,319.58

Sound Credit Union xxxx86-S10                                           11 U.S.C. § 522(d)(5)                                          59.02                            59.02

WSECU Savings xxxx70-S02                                                11 U.S.C. § 522(d)(5)                                      2,700.00                         2,700.00

Wearing Apparel
Wearing apparel for two adults                                          11 U.S.C. § 522(d)(3)                                        600.00                           600.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Dawson Land Company LLC: Arizona State              11 U.S.C. § 522(d)(12)                                                       52,947.35                        52,947.35
LLC. Principal place of business: 902,66th Ave
E. Tacoma WA. Manager: Pat Smithson,
Member: Pat L. Smithson 401K Profit Sharing
Plan 100%
Assets: Oroville Lot 4 Tax ID 5810040000 -
$49,500 tax assessed value. Fife Commercial
Bank Account xxxx4311 $3,447.35

Stock and Interests in Businesses
Aegis International LLC - Debtor has 10%                                11 U.S.C. § 522(d)(5)                                    12,000.00                        40,000.00
interest in LLC. Joint Debtor has 20% interest in
LLC. Son - 35%, Son - 35% 1977 Cessna
Skyhawk.

Vista Estates LLC - no income. Fife Commercial                          11 U.S.C. § 522(d)(5)                                      1,767.15                         2,798.32
Bank Account xxxx3305 $2,798.32




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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                 Case 13-46375-BDL                          Doc 16      Filed 11/07/13          Ent. 11/07/13 22:01:12                      Pg. 11 of 39
 B6C (Official Form 6C) (4/13) -- Cont.




   In re         Patricia Louise Smithson,                                                                   Case No.      13-46375
                 Kenneth Lynden Smithson
                                                                                                      ,
                                                                                       Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                              (Continuation Sheet)

                                                                              Specify Law Providing              Value of            Current Value of
                   Description of Property                                       Each Exemption                  Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Automobiles, Trucks, Trailers, and Other Vehicles
2006 Ford Mustang, Mileage: 120,000,                                    11 U.S.C. § 522(d)(2)                           7,350.00              10,993.00
Condition: Good, KBB Trade in Value:
$10,993.00

Office Equipment, Furnishings and Supplies
Office Equipment                                                        11 U.S.C. § 522(d)(3)                            350.00                   350.00




                                                                                                    Total:          86,697.35               369,371.52
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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                 Case 13-46375-BDL                          Doc 16      Filed 11/07/13           Ent. 11/07/13 22:01:12      Pg. 12 of 39
 B6D (Official Form 6D) (12/07)


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   In re         Patricia Louise Smithson,                                                                                     Case No.     13-46375
                 Kenneth Lynden Smithson
                                                                                                                  ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxxxx9636                                           10/2007                                                      E
                                                                   Second Mortgage                                              D

Chase Bank                                                         902 66th Ave E. Fife (Tacoma), WA
PO Box 94014                                                       98424, Lot Acres: 0.2899, Building SQF:
                                                                   2,750, Bedrooms: 3, Baths: 4, Effective
Palatine, IL 60094-4014
                                                                 C Year Built: 1981, Appraisal Valuation
                                                                   10/9/13: $225,000.00
                                                                        Value $                         225,000.00                           43,017.00             43,017.00
Account No. xxx53-06                                                 04/2006

Guy & Patricia Fisher                                                First Mortgage
33556 Hwy 97
                                                                   Vacant Lots: APN
Oroville, WA 98844
                                                                 C 581003000/5810020000. Tax Valuation:
                                                                   $100,000
                                                                        Value $                         100,000.00                           50,000.00                     0.00
Account No. xxxxxx1634                                             07/2006
                                                                   First Mortgage
Ocwen Loan Servicing                                               624 66th Ave E., Fife (Tacoma), WA
12650 Ingenuity Dr.                                                98424, Lot Acres: 5, Building SQF: 1,708,
                                                                   Bedrooms: 2, Baths: 2, Effective Year
Orlando, FL 32836
                                                                 C Built: 1978, Appraisal Valuation 10/9/13:
                                                                   $250,000.00
                                                                        Value $                         250,000.00                          472,458.79           222,458.79
Account No. xxxxxx3153                                               06/2007

Ocwen Loan Servicing, LLC                                            First Mortgage
3700 J. St. SW Suite 222
                                                                   74 17th Ave. Milton, WA 98354, Lot
Cedar Rapids, IA 52404
                                                                 C Acres: 0.2215, Building SQF: 1,520,
                                                                   Bedrooms: 3, Baths: 3, Year Built: 1983
                                                                        Value $                         175,000.00                          213,674.84             38,674.84
                                                                                                                        Subtotal
 1
_____ continuation sheets attached                                                                                                          779,150.63           304,150.63
                                                                                                               (Total of this page)




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                 Case 13-46375-BDL                          Doc 16            Filed 11/07/13                Ent. 11/07/13 22:01:12            Pg. 13 of 39
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Patricia Louise Smithson,                                                                                     Case No.     13-46375
                 Kenneth Lynden Smithson
                                                                                                                  ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                             T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx4934                                             07/2007                                                      E
                                                                   First Mortgage                                               D

OneWest Bank Bank                                                  902 66th Ave E. Fife (Tacoma), WA
PO Box 829009                                                      98424, Lot Acres: 0.2899, Building SQF:
                                                                   2,750, Bedrooms: 3, Baths: 4, Effective
Dallas, TX 75382-9009
                                                                 C Year Built: 1981, Appraisal Valuation
                                                                   10/9/13: $225,000.00
                                                                        Value $                         225,000.00                          377,060.50         152,060.50
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            377,060.50         152,060.50
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total           1,156,211.13         456,211.13
                                                                                                (Report on Summary of Schedules)

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                 Case 13-46375-BDL                          Doc 16            Filed 11/07/13                Ent. 11/07/13 22:01:12            Pg. 14 of 39
B6E (Official Form 6E) (4/13)


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  In re         Patricia Louise Smithson,                                                                                          Case No.            13-46375
                Kenneth Lynden Smithson
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
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                Case 13-46375-BDL                          Doc 16           Filed 11/07/13                 Ent. 11/07/13 22:01:12                        Pg. 15 of 39
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Patricia Louise Smithson,                                                                                     Case No.      13-46375
                 Kenneth Lynden Smithson
                                                                                                                  ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                           Taxes and Certain Other Debts
                                                                                                                            Owed to Governmental Units
                                                                                                                                        TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                        C    U   D
             CREDITOR'S NAME,                                O                                                             O    N   I                      AMOUNT NOT
                                                             D                                                             N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                         T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                       I    Q   U
                                                                                                                                           OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                         N    U   T                                AMOUNT
                                                             O                                                             G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                         E    D   D
                                                                                                                           N    A
                                                                                                                                                                     PRIORITY
                                                                                                                           T    T
Account No. xxxxxxxx/xxxx7737                                        2009                                                       E
                                                                                                                                D

IRS Internal Revenue Service                                         2009 Taxes owed per Audit - appeal
POB 7346                                                             pending                                                                               0.00
Philadelphia, PA 19101-7346
                                                                 C

                                                                                                                                              10,000.00            10,000.00
Account No. xxxxxxxx/xxxx7737                                        2010

IRS Internal Revenue Service                                         2010 Taxes owed per Audit - appeal
POB 7346                                                             pending                                                                               0.00
Philadelphia, PA 19101-7346
                                                                 C

                                                                                                                                               9,394.00              9,394.00
Account No. xxxxxxxx/xxxx7737                                        2011

IRS Internal Revenue Service                                         2011 Taxes owed per Audit - appeal
POB 7346                                                             pending                                                                               0.00
Philadelphia, PA 19101-7346
                                                                 C

                                                                                                                                               9,589.93              9,589.93
Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                        (Total of this page)           28,983.93            28,983.93
                                                                                                                          Total                            0.00
                                                                                                (Report on Summary of Schedules)              28,983.93            28,983.93

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                 Case 13-46375-BDL                          Doc 16            Filed 11/07/13                Ent. 11/07/13 22:01:12              Pg. 16 of 39
 B6F (Official Form 6F) (12/07)


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   In re         Patricia Louise Smithson,                                                                               Case No.         13-46375
                 Kenneth Lynden Smithson
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C    U   D
                   CREDITOR'S NAME,                                     O                                                                   O    N   I
                   MAILING ADDRESS                                      D   H                                                               N    L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T    I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I    Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                        T   J                                                               N    U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G    I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E    D   D
                                                                                                                                            N    A
Account No. xxxx-xxxxxx-x4584                                                   11/2006-present                                             T    T
                                                                                                                                                 E
                                                                                For notice purposes on account believed to                       D

American Express                                                                have been satisfied
POB 650448                                                                  C
Dallas, TX 75265

                                                                                                                                                                             0.00
Account No. xxxx-xxxx-xxxx-7876                                                 09/2010-present
                                                                                Credit Serv Disputed fees - late, overlimit,
Capital One                                                                     interest etc.
701 Liberty Way                                                             C
Chester, VA 23836

                                                                                                                                                                         705.00
Account No. xxxx-xxxx-xxxx-7817                                                 06/2003-present
                                                                                Credit Serv Disputed fees - late, overlimit,
Capital One                                                                     interest etc.
701 Liberty Way                                                             C
Chester, VA 23836

                                                                                                                                                                         389.00
Account No. xxxx-xxxx-xxxx-0569                                                 03/2003-present
                                                                                Credit Serv Disputed fees - late, overlimit,
Capital One                                                                     interest etc.
701 Liberty Way                                                             C
Chester, VA 23836

                                                                                                                                                                       4,916.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                     6,010.00
                                                                                                                              (Total of this page)




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                 Case 13-46375-BDL                          Doc 16          Filed 11/07/13                 Ent. 11/07/13 22:01:12               Pg. 17 of 39
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Patricia Louise Smithson,                                                                             Case No.     13-46375
                 Kenneth Lynden Smithson
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C    U   D
                   CREDITOR'S NAME,                                     O                                                             O    N   I
                   MAILING ADDRESS                                      D   H                                                         N    L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                   T    I   P
                                                                        B                                                             I    Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N    U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G    I   E
                  (See instructions above.)                             R                                                             E    D   D
                                                                                                                                      N    A
                                                                                                                                      T    T
Account No. xxxx3769                                                            Unknown                                                    E
                                                                                Credit Serv Disputed fees - late, overlimit,               D

Capital One                                                                     interest etc.
701 Liberty Way                                                             C
Chester, VA 23836

                                                                                                                                                              Unknown
Account No.                                                                     Notify Only

ChexSystems
Attn: Consumer Relations                                                    C
7805 Hudson Rd
Suite 100
Woodbury, MN 55125                                                                                                                                                   0.00
Account No.                                                                     Notify Only

Equifax Credit Information, IN
POB 740241                                                                  C
Atlanta, GA 30374

                                                                                                                                                                     0.00
Account No.                                                                     Notify Only

Experian
POB 2002                                                                    C
Allen, TX 75013

                                                                                                                                                                     0.00
Account No. xxxxxxxxx5320                                                       11/2003-present
                                                                                Credit Serv Disputed fees - late, overlimit,
Macy's Bankruptcy Processing                                                    interest etc.
PO Box 8053                                                                 C
Mason, OH 45040

                                                                                                                                                               1,974.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                               1,974.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                 Case 13-46375-BDL                          Doc 16          Filed 11/07/13                 Ent. 11/07/13 22:01:12         Pg. 18 of 39
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Patricia Louise Smithson,                                                                                 Case No.      13-46375
                 Kenneth Lynden Smithson
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C    U   D
                   CREDITOR'S NAME,                                     O                                                                  O    N   I
                   MAILING ADDRESS                                      D   H                                                              N    L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T    I   P
                                                                        B                                                                  I    Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N    U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G    I   E
                  (See instructions above.)                             R                                                                  E    D   D
                                                                                                                                           N    A
                                                                                                                                           T    T
Account No. xxxx-xxxx-xxxx-3319                                                 02/2004-present                                                 E
                                                                                Credit Serv Disputed fees - late, overlimit,                    D

Orchard Bank                                                                    interest etc.
HSBC Cards Services                                                         C
POB 60102
City of Industry, CA 91716
                                                                                                                                                                    2,931.00
Account No.                                                                     Notify Only

TransUnion Consumer Solutions
POB 2000                                                                    C
Chester, PA 19022

                                                                                                                                                                          0.00
Account No. xxxxxxxx3594                                                        11/2006-present
                                                                                For notice purposes on account believed to
Visa                                                                            have been satisfied
Cardmember Service                                                          C
POB 94014
Palatine, IL 60094-4014
                                                                                                                                                                          0.00
Account No.

Wells Fargo
PO Box 30427                                                                C
Los Angeles, CA 90030

                                                                                                                                                                          0.00
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                    2,931.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                 10,915.00


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                 Case 13-46375-BDL                          Doc 16          Filed 11/07/13                 Ent. 11/07/13 22:01:12              Pg. 19 of 39
B6G (Official Form 6G) (12/07)


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  In re             Patricia Louise Smithson,                                                                   Case No.        13-46375
                    Kenneth Lynden Smithson
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Auburn Municipal Airport                                            Airplane Hanger Rental. $320.00 a month.
                     400 23rd St. NE
                     Auburn, WA 98002

                     Ernest Carrillo                                                     Monthly Rental Contract - $1,000.00 a month.
                     624 66th Ave E.
                     Tacoma, WA 98424

                     Stephanie Spencer & Ron Doerr                                       Monthly Rental Contract - $1,200.00 a month
                     74 17th Ave.
                     Milton, WA 98354




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                    Case 13-46375-BDL                      Doc 16      Filed 11/07/13         Ent. 11/07/13 22:01:12               Pg. 20 of 39
B6H (Official Form 6H) (12/07)


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  In re          Patricia Louise Smithson,                                                               Case No.       13-46375
                 Kenneth Lynden Smithson
                                                                                                ,
                                                                                 Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                      NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                 Case 13-46375-BDL                         Doc 16      Filed 11/07/13      Ent. 11/07/13 22:01:12          Pg. 21 of 39
B6I (Official Form 6I) (12/07)
          Patricia Louise Smithson
 In re    Kenneth Lynden Smithson                                                                       Case No.        13-46375
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Project Director
Name of Employer                    Superintendent of Public Instruction
How long employed                   7 years
Address of Employer                 PO Box 47200
                                    Olympia, WA 98504-7200
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       5,985.53          $           0.00
2. Estimate monthly overtime                                                                             $           0.00          $           0.00

3. SUBTOTAL                                                                                              $         5,985.53        $            0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             965.85      $            0.00
     b. Insurance                                                                                        $             257.71      $            0.00
     c. Union dues                                                                                       $               0.00      $            0.00
     d. Other (Specify):                                                                                 $               0.00      $            0.00
                                                                                                         $               0.00      $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,223.56        $            0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         4,761.97        $            0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $            0.00
8. Income from real property                                                                             $               0.00      $            0.00
9. Interest and dividends                                                                                $               0.00      $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $            0.00
11. Social security or government assistance
(Specify):           Social Security                                                                     $             0.00        $        1,167.00
                     Social Security                                                                     $         2,245.00        $            0.00
12. Pension or retirement income                                                                         $         2,668.99        $            0.00
13. Other monthly income
(Specify):           624 66th Ave Rent                                                                   $         1,000.00        $            0.00
                     74 17th Ave Rent                                                                    $         1,200.00        $            0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         7,113.99        $        1,167.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $       11,875.96         $        1,167.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            13,042.96
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




           Case 13-46375-BDL                Doc 16         Filed 11/07/13            Ent. 11/07/13 22:01:12               Pg. 22 of 39
B6J (Official Form 6J) (12/07)
          Patricia Louise Smithson
 In re    Kenneth Lynden Smithson                                                             Case No.    13-46375
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,563.42
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   281.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                    58.00
                   d. Other See Detailed Expense Attachment                                                 $                   451.00
3. Home maintenance (repairs and upkeep)                                                                    $                 1,000.00
4. Food                                                                                                     $                   500.00
5. Clothing                                                                                                 $                   200.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                   150.00
8. Transportation (not including car payments)                                                              $                   600.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   250.00
10. Charitable contributions                                                                                $                   100.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   164.91
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                   350.00
                   d. Auto                                                                                  $                   141.96
                   e. Other See Detailed Expense Attachment                                                 $                   143.32
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 6,253.21

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                13,256.82
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                13,042.96
b. Average monthly expenses from Line 18 above                                                              $                13,256.82
c. Monthly net income (a. minus b.)                                                                         $                  -213.86




         Case 13-46375-BDL            Doc 16       Filed 11/07/13         Ent. 11/07/13 22:01:12            Pg. 23 of 39
B6J (Official Form 6J) (12/07)
          Patricia Louise Smithson
 In re    Kenneth Lynden Smithson                                                 Case No.   13-46375
                                                           Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                              Detailed Expense Attachment
Other Utility Expenditures:
Garbage                                                                                      $                36.00
Cell Phones                                                                                  $               258.00
Comcast                                                                                      $               157.00
Total Other Utility Expenditures                                                             $               451.00

Other Insurance Expenditures:
74 17th Rental Property Insurance                                                            $                66.66
624 66th Rental Property Insurance                                                           $                76.66
Total Other Insurance Expenditures                                                           $               143.32




Other Expenditures:
74 17th Rental Mortgage (inc. taxes)                                                         $              1,771.41
624 66th Rental Mortgage (inc. taxes)                                                        $              4,161.80
Auburn Airport Hanger                                                                        $                320.00
Total Other Expenditures                                                                     $              6,253.21




         Case 13-46375-BDL           Doc 16    Filed 11/07/13     Ent. 11/07/13 22:01:12     Pg. 24 of 39
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
            Patricia Louise Smithson
 In re      Kenneth Lynden Smithson                                                                           Case No.    13-46375
                                                                                     Debtor(s)                Chapter     11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of             21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date November 7, 2013                                                   Signature   /s/ Patricia Louise Smithson
                                                                                     Patricia Louise Smithson
                                                                                     Debtor


 Date November 7, 2013                                                   Signature   /s/ Kenneth Lynden Smithson
                                                                                     Kenneth Lynden Smithson
                                                                                     Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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             Case 13-46375-BDL                         Doc 16           Filed 11/07/13           Ent. 11/07/13 22:01:12     Pg. 25 of 39
B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Western District of Washington
             Patricia Louise Smithson
 In re       Kenneth Lynden Smithson                                                                           Case No.       13-46375
                                                                                  Debtor(s)                    Chapter        11

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                 DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $56,395.50                            2013 YTD: Wife State of Washington
                          $64,404.00                            2012: Wife State of Washington
                          $66,248.00                            2011: Wife State of Washington
                          $1.00                                 2013 YTD: Wife Market Connect Group Inc.
                          $2,763.00                             2012: Wife Market Connect Group Inc.
                          $5,184.00                             2011: Wife Market Connect Group Inc.
                          $0.00                                 2013 YTD: Husband Business Consultation Gross Income
                          $0.00                                 2012: Husband Business Consultation Gross Income
                          $2,100.00                             2011: Husband Business Consultation Gross Income
                          $0.00                                 2013 YTD: Wife Aegis International LLC Gross Income

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             Case 13-46375-BDL                         Doc 16           Filed 11/07/13        Ent. 11/07/13 22:01:12              Pg. 26 of 39
B7 (Official Form 7) (04/13)
2
                         AMOUNT                                 SOURCE
                         $1,341.00                              2012: Wife Aegis International LLC Gross Income
                         $4,950.00                              2011: Wife Aegis International LLC Gross Income
                         $12,000.00                             2013 YTD: Both 74 17th Ave Gross Rental Income
                         $14,400.00                             2012: Both 74 17th Ave Gross Rental Income
                         $14,400.00                             2011: Both 74 17th Ave Gross Rental Income
                         $10,000.00                             2013 YTD: Both 624 66th Ave Gross Rental Income
                         $9,600.00                              2012: Both 624 66th Ave Gross Rental Income
                         $6,000.00                              2011: Both 624 66th Ave Gross Rental Income
                         $0.00                                  2013 YTD: Husband Law Office of Lynden Smithson
                         $3,535.00                              2012: Husband Law Office of Lynden Smithson
                         $0.00                                  2011: Husband Law Office of Lynden Smithson

               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE
                         $26,689.90                             2013 YTD: Wife State of WA Dept. of Retirement
                         $33,312.00                             2012: Wife State of WA Dept. of Retirement
                         $32,951.00                             2011: Wife State of WA Dept. of Retirement
                         $34,120.00                             2013 YTD: Both Combined Social Security
                         $40,221.00                             2012: Both Combined Social Security
                         $39,828.00                             2011: Both Combined Social Security

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
     OF CREDITOR                                                         PAYMENTS                             AMOUNT PAID                  OWING
 IRS Internal Revenue Service                                                                                   $19,000.00               $21,000.00
 POB 7346
 Philadelphia, PA 19101-7346

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13       Ent. 11/07/13 22:01:12               Pg. 27 of 39
B7 (Official Form 7) (04/13)
3
                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF             AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS               OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                    AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
 PATRICIA SMITHSON VS. REGIONAL TRUSTEE                                 Foreclosure       SUPERIOR COURT OF KING COUNTY                   Pending
 SERVICES CORP.

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY




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             Case 13-46375-BDL                         Doc 16          Filed 11/07/13     Ent. 11/07/13 22:01:12               Pg. 28 of 39
B7 (Official Form 7) (04/13)
4
               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                DATE OF GIFT           VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                    LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                             BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                               AMOUNT OF MONEY
 NAME AND ADDRESS                                                      NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                              THAN DEBTOR                                     OF PROPERTY
 Right to Cancel                                                                                                   $3,000.00

 QGroup                                                                                                            $3,500.00

 Kaslow & Kramer Law Offices                                                                                       $3,500.00

 Spire Law Group                                                                                                   $17,000.00

 The Gartland Group                                                                                                $4,000.00
 78900 Ave 47, Suite 112
 La Quinta, CA 92253
 NW Accounting                                                                                                     $3,000.00
 3700 Pacific Hwy. Suite 300
 Tacoma, WA 98424
 Jonathan Smith                                                                                                    $2,500.00
 Advantage Legal Group
 12207 NE 8th St.
 Bellevue, WA 98005-3113
 Ha Dao                                                                                                            $7,000.00
 Grand Central Law, PLLC
 787 Maynard Ave. S.
 Seattle, WA 98104-2987
 Iwama Law Firm                                                        10/10/13                                    $936.72
 333 5th Ave S
 Kent, WA 98032
 Abacus Credit Counseling                                              6/10/13, 10/9/13                            $50.00
 3413 Alginet Drive
 Encino, CA 91436




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13       Ent. 11/07/13 22:01:12             Pg. 29 of 39
B7 (Official Form 7) (04/13)
5
               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                           DATE                              AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                               DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                      TRANSFER(S)                IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                       AND AMOUNT OF FINAL BALANCE                             OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                          DATE OF SETOFF                                   AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13       Ent. 11/07/13 22:01:12                 Pg. 30 of 39
B7 (Official Form 7) (04/13)
6
               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                               NAME USED                                       DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                     DOCKET NUMBER                                   STATUS OR DISPOSITION




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13     Ent. 11/07/13 22:01:12                 Pg. 31 of 39
B7 (Official Form 7) (04/13)
7
               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES
 Dawson Land                       602570239                         902 66th Ave E.              Investment Properties            01/2003-present
 Company, LLC                                                        Tacoma, WA 98424             LLC
 Vista Estates LLC                 602562999                         902 66th Ave E.              Property Development -           12/2005-present
                                                                     Tacoma, WA 98424             no current activity
 Aegis International               xxxx5714                          1406 6th Ave                 Leasing and Flight
 LLC                                                                 Kalispell, MT 59901-4137     Instruction

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 NW Regional Accounting Services                                                                           Over 30 years.
 3700 Pacific Hwy. E, Suite 300
 Tacoma, WA 98424

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.


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             Case 13-46375-BDL                         Doc 16         Filed 11/07/13      Ent. 11/07/13 22:01:12                 Pg. 32 of 39
B7 (Official Form 7) (04/13)
8

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                              NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                            RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                     NATURE OF INTEREST                               PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                     TITLE                                OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                     TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                        DATE AND PURPOSE                                 OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                               OF WITHDRAWAL                                    VALUE OF PROPERTY




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13      Ent. 11/07/13 22:01:12                 Pg. 33 of 39
B7 (Official Form 7) (04/13)
9
               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                             ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date November 7, 2013                                                Signature   /s/ Patricia Louise Smithson
                                                                                  Patricia Louise Smithson
                                                                                  Debtor


 Date November 7, 2013                                                Signature   /s/ Kenneth Lynden Smithson
                                                                                  Kenneth Lynden Smithson
                                                                                  Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13         Ent. 11/07/13 22:01:12                   Pg. 34 of 39
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
             Patricia Louise Smithson
 In re       Kenneth Lynden Smithson                                                                          Case No.      13-46375
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  300/hour
             Prior to the filing of this statement I have received                                        $                    936.72
             Balance Due                                                                                  $                       TBD

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning;

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions.
                                                                            CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      November 7, 2013                                                     /s/ Masafumi Iwama
                                                                                  Masafumi Iwama
                                                                                  Iwama Law Firm
                                                                                  333 5th Ave S.
                                                                                  Kent, WA 98032
                                                                                  253-520-7671 Fax: 253-520-7326




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             Case 13-46375-BDL                         Doc 16           Filed 11/07/13        Ent. 11/07/13 22:01:12           Pg. 35 of 39
B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF WASHINGTON
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13   Ent. 11/07/13 22:01:12     Pg. 36 of 39
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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             Case 13-46375-BDL                         Doc 16        Filed 11/07/13   Ent. 11/07/13 22:01:12    Pg. 37 of 39
B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
            Patricia Louise Smithson
 In re      Kenneth Lynden Smithson                                                                         Case No.       13-46375
                                                                                  Debtor(s)                 Chapter        11

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Patricia Louise Smithson
 Kenneth Lynden Smithson                                                            X /s/ Patricia Louise Smithson               November 7, 2013
 Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

 Case No. (if known) 13-46375                                                       X /s/ Kenneth Lynden Smithson                November 7, 2013
                                                                                      Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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             Case 13-46375-BDL                         Doc 16           Filed 11/07/13        Ent. 11/07/13 22:01:12         Pg. 38 of 39
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
            Patricia Louise Smithson
 In re      Kenneth Lynden Smithson                                                                          Case No.    13-46375
                                                                                    Debtor(s)                Chapter     11




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: November 7, 2013                                                  /s/ Patricia Louise Smithson
                                                                         Patricia Louise Smithson
                                                                         Signature of Debtor

 Date: November 7, 2013                                                  /s/ Kenneth Lynden Smithson
                                                                         Kenneth Lynden Smithson
                                                                         Signature of Debtor




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             Case 13-46375-BDL                         Doc 16           Filed 11/07/13          Ent. 11/07/13 22:01:12     Pg. 39 of 39
